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12   Attorneys for Plaintiffs WhatsApp Inc. and
     Facebook, Inc.
13
                                  UNITED STATES DISTRICT COURT
14
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                          OAKLAND DIVISION
16
     WHATSAPP INC., a Delaware corporation,
                                       )
17   and FACEBOOK, INC., a Delaware    )           Case No. 4:19-cv-07123-PJH
     corporation,                      )
18                                     )           DECLARATION OF ANTONIO J.
                     Plaintiffs,       )           PEREZ-MARQUES IN SUPPORT OF
19                                     )           ADMINISTRATIVE MOTION FOR
            v.                         )           LEAVE TO FILE PORTIONS OF
20                                     )           MEMORANDUM OF POINTS AND
     NSO GROUP TECHNOLOGIES LIMITED )              AUTHORITIES IN SUPPORT OF
21   and Q CYBER TECHNOLOGIES LIMITED, )           PLAINTIFFS’ MOTION TO STRIKE
                                       )           AFFIRMATIVE DEFENSES UNDER
22                   Defendants.       )           SEAL
                                       )
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        Case 4:19-cv-07123-PJH Document 139-1 Filed 09/10/20 Page 2 of 3




 1            I, Antonio J. Perez-Marques, declare as follows:

 2            1.     I am an attorney duly licensed to practice law in the State of New York, and a

 3   partner with the law firm of Davis Polk & Wardwell LLP, counsel to Plaintiffs WhatsApp Inc. and

 4   Facebook, Inc. (“Plaintiffs”), in the above-captioned matter. I am admitted pro hac vice in the

 5   above-captioned matter. Except for those matters on information and belief, which I believe to be

 6   true, the statements made herein are based on my personal knowledge and if called as a witness, I

 7   could and would competently testify thereto.

 8            2.     I submit this declaration pursuant to Civil Local Rule 79-5 in support of the

 9   Administrative Motion to File Portions of Memorandum of Points and Authorities in Support of

10   Plaintiffs’ Motion to Strike Affirmative Defenses Under Seal filed concurrently herewith.

11            3.     Attached hereto as Exhibit A is a true and correct copy of the redacted version of the

12   Memorandum of Points and Authorities in Support of Plaintiffs’ Motion to Strike Affirmative

13   Defenses Under Seal.

14            4.     Attached hereto as Exhibit B is a true and correct copy of the unredacted version of

15   the Memorandum of Points and Authorities in Support of Plaintiffs’ Motion to Strike Affirmative

16   Defenses Under Seal.

17            5.     The redacted portions of the document refer to materials that have been designated

18   by Defendants as “Highly Confidential – Attorney’s Eyes Only” pursuant to the August 31, 2020

19   Stipulated Protective Order (ECF No. 132) in the above-captioned action, and Defendants have

20   sought leave to file those materials, and all references to those materials, under seal (ECF No. 133).

21   Plaintiffs take no position as to whether the designated documents satisfy the requirements for

22   sealing, and specifically reserve the right to challenge any confidentiality designations under the

23   Stipulated Protective Order governing this Action as well as the sealability of the documents at

24   issue.

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     DECLARATION OF ANTONIO J. PEREZ-MARQUES IN SUPPORT OF ADMINISTRATIVE MOTION FOR LEAVE TO FILE
     PORTIONS OF MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO STRIKE AFFIRMATIVE DEFENSES UNDER SEAL –
     CASE NO. 4:19-CV-07123-PJH
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 1          I declare under the penalty of perjury that the foregoing is true and correct.

 2          Executed this 10th day of September 2020 in East Hampton, New York.

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 4                                                        /s/ Antonio J. Perez-Marques
                                                          Antonio J. Perez-Marques
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     DECLARATION OF ANTONIO J. PEREZ-MARQUES IN SUPPORT OF ADMINISTRATIVE MOTION FOR LEAVE TO FILE
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